
SK Prime Medical Supply, Inc., as Assignee of Luther Brenor, Respondent,
againstCitiwide Auto Leasing, Inc., Appellant.




Miller, Leiby &amp; Associates, P.C. (Melissa M. Wolin of counsel), for appellant.
Baker Sanders, LLC, for respondent (no brief filed).

Appeal from an order of the Civil Court of the City of New York, Richmond County (Lizette Colon, J.), entered July 2, 2015. The order, insofar as appealed from, denied the branch of defendant's motion seeking summary judgment dismissing the first cause of action.




ORDERED that the order, insofar as appealed from, is reversed, with $30 costs, and the branch of defendant's motion seeking summary judgment dismissing the first cause of action is granted.
In this action by a provider to recover assigned first-party no-fault benefits, defendant moved for summary judgment dismissing the complaint on the ground that plaintiff had failed to provide requested verification. Defendant appeals from so much of an order of the Civil Court as denied the branch of defendant's motion seeking summary judgment dismissing the first cause of action. 
Insofar as is relevant to this appeal, defendant established that it had timely mailed initial and follow-up requests for written verification (see St. Vincent's Hosp. of Richmond v Government Empls. Ins. Co., 50 AD3d 1123 [2008]). As defendant demonstrated that it had not received the requested verification, and plaintiff did not show that the verification had been provided to defendant prior to the commencement of the action, the 30-day period within which defendant was required to pay or deny the claim did not begin to run (see 11 NYCRR 65-3.8 [a]; Central Suffolk Hosp. v New York Cent. Mut. Fire Ins. Co., 24 AD3d 492 [2005]).
Accordingly, the order, insofar as appealed from, is reversed and the branch of defendant's motion seeking summary judgment dismissing the first cause of action is granted.
PESCE, P.J., ALIOTTA and ELLIOT, JJ., concur.
ENTER:Paul KennyChief ClerkDecision Date: May 18, 2018










